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STATE OF MINNESOTA                                                      DISTRICT COURT

COUNTY OF HENNEPIN                                        FOURTH JUDICIAL DISTRICT

                                                         Case Type: PERSONAL INJURY

                                                          Court File No.:
Laquisha McKinney, on behalf of her minor
son, Tyler Lynam, an individual

                     Plaintiff,

v.

City of Minneapolis, Officer Tyrone Barze,
Jr., badge # ___ personally, and in his
capacity as a Minneapolis Police Officer, and
Officer Richard Lillard, badge # ___
personally, and in his capacity as a
Minneapolis Police Officer, Officers Jane Doe             COMPLAINT AND JURY
and Richard Roe, unknown and unnamed                      DEMAND
Minneapolis Police officers, personally, and
in their capacities as Minneapolis Police
officers; and Janee Harteau, Minneapolis
Chief of Police, personally and in his official
capacity,

                     Defendants.




       Now comes the Plaintiff, Laquisha McKinney on behalf of her minor son, Tyler Lynam,

and for her Complaint against Defendants states and alleges as follows:

                                       INTRODUCTION

1.     Plaintiff McKinney brings this complaint seeking damages and other relief against

       Defendants for violations of her civil and constitutional rights under both federal and

       state constitutions, violations of federal and state statutes, including 42 United States

       Code Section 1981, 1983, 1985, 1986 and 1988, and for common law tort claims as

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     herein enumerated.

2.   The incident that gives rise to Ms. McKinney’s claims occurred on or about April 27,

     2012 near the Patrick Henry High School in City of St. Minneapolis, County of

     Hennepin, Minnesota.

3.   At all times material hereto, Ms. McKinney and her minor son Tyler Lynam, were

     persons of African-American descent residing in the State of Minnesota, County of

     Hennepin. Plaintiffs are protected class individuals.

4.   Defendant City of Minneapolis is a political entity and person under 42 U.S.C. § 1983

     and the employer of the Defendant police officers and is sued pursuant to Minnesota

     Statutes Section 466.01, et seq. The appropriate claims are also based on the doctrine of

     respondeat superior against Defendant City of Minneapolis as the employer of Defendant

     officers. Officer Tyrone Barze and Officer Richard Lillard are Minneapolis police

     officers.

5.   Defendant Janee Harteau is the Minneapolis Police Chief. Harteau, allegedly, has the

     duty and responsibility of supervising, training and disciplining Minneapolis Police

     officers, including defendant officers herein.

6.   All Defendant police officers were at the time and place of the incident working as on-

     duty Minneapolis Police officers and/or acting within the scope and course of their

     official duties and employment as officers with the City of Minneapolis Police

     Department. All Defendants were acting under color of state law.

7.   At the end of the school day, Plaintiff Lynam was exiting the school grounds near Patrick

     Henry High School.

8.   Without warning or provocation, Officers slammed Plaintiff to the ground.

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9.    Plaintiff Tyler Lynam was further beaten, assaulted, thrown to the ground, and had a

      Taser applied to him and viciously kicked in the torso and back.

10.   While he was laying on the ground in compliance with the officers’ commands, he was

      both maced and tased by Defendant officers.

11.   After Plaintiff Tyler Lynam was handcuffed, he was pulled along, pinched and berated by

      Officers.

12.   When Plaintiff Tyler Lynam requested medical treatment and to be transported to a

      hospital, Officer Nelson conditioned medical treatment and transportation on first

      arresting Plaintiff Tyler Lynam and taking him to jail versus receiving a citation and

      being permitted to leave.

13.   The officers beat and kicked Tyler Lynam, assaulting and striking him numerous times

      after he complied immediately with their commands, without probable cause to arrest

      Tyler Lynam, without warrant to arrest him, and in so “seizing” him using unnecessary

      and unreasonable force.

14.   The actions of the officers were malicious, unjustified, unreasonable, and were or should

      have been known to violate Tyler Lynam’s rights, including rights to due process and to

      be free from unreasonable seizures.

15.   Tyler Lynam suffered distress and other injuries, including but not limited to, multiple

      contusions in his body and other injuries.

16.   Tyler Lynam reported this incident to the City of Minneapolis, and the Minneapolis

      Civilian Review, giving her timely notice of claim as to his state law tort claims.

      Nevertheless, Plaintiff alleges that Defendants have actual and/or or constructive

      knowledge of her claims. Further, Plaintiff has no obligation to provide notice of her

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      federal claims based on the Supremacy Clause of the United States Constitution. See

      Felder v. Casey, 487 U.S. 131, 146-47, 108 S. Ct. 2302, 2311, 101 L. Ed. 2d 123 (1988).

                                      CAUSES OF ACTION

                                                 I.

                                          ASSAULT

17.   Plaintiff restates and realleges each and every allegation and paragraph of this Complaint

      as if fully set forth herein.

18.   The actions of Defendant officers, placed Tyler Lynam in immediate fear of imminent

      threat of physical or bodily harm and were intended to cause such fear in Plaintiff while

      Defendants had the apparent and present ability to cause such harm.

19.   Such actions were unjustified, were not the actions of reasonably well-trained officers,

      and were committed with malice and/or age–based or racial animus for Tyler Lynam.

20.   As a result of these actions, Plaintiff was placed in fear of immediate harm, injury, or

      death, resulting in damage to Plaintiff.

21.   Wherefore, as a direct and proximate cause of the actions of Defendant officers, Plaintiff

      has suffered damages in an amount in excess of seventy-five thousand dollars

      ($75,000.00).

                                                 II.

                                          BATTERY

22.   Plaintiff restates and realleges each and every allegation and paragraph of this Complaint

      as if fully set forth herein.

23.   The actions of Defendant officers, including Officers, as to Tyler Lynam constituted an

      unauthorized touching and use of unreasonable, unjustified and excessive force in

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      violation of Minnesota Statutes authorizing the use of justifiable force. Such

      unauthorized touching or force caused physical or bodily harm and was intended to cause

      such physical or bodily harm as to Plaintiff while Defendants had Plaintiff in their

      custody.

24.   Such actions were unjustified, were not the actions of reasonably well-trained officers,

      and were committed with malice and/or racial animus for Tyler Lynam.

25.   As a result of these actions, Plaintiff was placed in fear of immediate harm, injury, or

      death, resulting in damage to Plaintiff.

26.   Wherefore, as a direct and proximate cause of the actions of Defendant officers, Plaintiff

      has suffered damages in an amount in excess of seventy-five thousand dollars

      ($75,000.00).

                                                 III.

                                       FALSE ARREST

27.   Plaintiff restates and realleges each and every allegation and paragraph of this Complaint

      as if fully set forth herein.

28.   Defendants in illegally and falsely seizing Plaintiff did so without probable case, warrant

      or complaint, thus causing Plaintiff to lose his liberty and freedom of movement without

      legal right or justification.

29.   Defendants did so maliciously and/or recklessly by assaulting him, based on Plaintiff’s

      race, color and appearance.

30.   Such an assault is part of a pattern of police misconduct.

31.   Such actions were unjustified, were not the actions of reasonably well-trained officers,

      and were committed with malice and/or racial animus for Tyler Lynam.

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32.   As a result of these actions, Plaintiff was placed in fear of immediate harm, injury, or

      death, resulting in damage to Plaintiff.

33.   Wherefore, as a direct and proximate cause of the actions of Defendant officers, Plaintiff

      has suffered damages in an amount in excess of seventy-five thousand dollars

      ($75,000.00).

                                                 IV.

              INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

34.   Plaintiff restates and realleges each and every allegation and paragraph of this Complaint

      as if fully set forth herein.

35.   The actions of Defendants were malicious, unjustified and unreasonable and so

      outrageous as to be non-endurable in a civilized society. Further such actions invaded

      and violated Plaintiff’s liberty interests and rights. Such actions were unjustified, were

      not the actions of reasonably well-trained officers and were committed with malice

      and/or racial animus for Tyler Lynam.

36.   As a result of these outrageous actions and assaults, Plaintiff was caused severe

      emotional and mental distress, resulting in harm and injury to Plaintiff.

37.   Wherefore, as a direct and proximate cause of these actions of Defendant officers,

      Plaintiff has suffered damages in an amount in excess of seventy-five thousand dollars

      ($75,000.00).




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                                               VI.

                NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

38.   Plaintiff restates and realleges each and every allegation and paragraph of this Complaint

      as if fully set forth herein.

39.   The actions as alleged herein of all officers at the scene negligently and maliciously

      placed Plaintiff Tyler Lynam in a zone of danger where he faced the danger of further

      harm.

40.   Further, the negligent actions of the Defendant officers invaded and violated the

      constitutional liberties and rights of Plaintiff. Such actions were unjustified, were not the

      actions of reasonably well-trained officers, and were committed with malice and/or racial

      animus for Tyler Lynam.

41.   As a result of these outrageous actions and assaults, Plaintiff was caused severe

      emotional and mental distress, resulting in harm and injury to Plaintiff.

42.   Wherefore, as a direct and proximate cause of the actions of Defendant officers, Plaintiff

      has suffered damages in an amount in excess of seventy-five thousand dollars

      ($75,000.00).

                                              VII.

                                        42 USC § 1983

                EXCESSIVE FORCE AND DUE PROCESS VIOLATIONS

43.   Plaintiff restates and realleges each and every allegation and paragraph of this Complaint

      as if fully set forth herein.

44.   The actions of Defendant officers, including Officers were conducted under color of law

      and while acting within the scope of their authority as Minneapolis Police officers.

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45.   Such actions intentionally and recklessly constituted “constitutional torts,” including

      violating and depriving Tyler Lynam of his rights to be free from unreasonable seizures,

      to be free from excessive force and his right to due process of law, all in violation of his

      rights under the Fourth, Fifth and Fourteenth Amendments to the United States

      Constitution and Title 42 United States Code Section 1983.

46.   Such actions were not the actions of objectively reasonably well-trained police officers

      and violated clearly and well-established rights of Tyler Lynam. Further, the actions of

      the officers were inherently shocking to the conscience. See Rochin v. California, 342

      U.S. 165, 96 L. Ed. 183, 72 S. Ct. 205 (1952).

47.   As a result of these outrageous actions and assaults, Plaintiff was caused severe harm,

      including the loss of constitutional rights and liberties, serious, temporary and/or

      permanent physical injury and other emotional and mental distress, resulting in harm and

      injury to Plaintiff.

48.   Wherefore, as a direct and proximate cause of the actions of Defendant officers, Plaintiff

      has suffered damages in an amount in excess of seventy-five thousand dollars

      ($75,000.00).

                                              VIII.

                                        42 U.S.C. § 1985

49.   Plaintiff restates and realleges each and every allegation and paragraph of this Complaint

      as if fully set forth herein.

50.   The actions of Officer and other officers were conducted as a part of a tacit agreement or

      conspiracy to refuse to vindicate, to refuse to protect, or to not infringe the constitutional

      rights of Brown skinned and African-American persons in the City of Minneapolis. Such

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      a tacit agreement or conspiracy violates 42 U.S.C. § 1985 by depriving a class of persons

      of rights because of race-based animus or hostility and deprives them of their

      constitutional rights through a pattern and practice of condoned illegal police behavior.

51.   Defendant officers have acted in furtherance of this tacit agreement or conspiracy to

      violate Plaintiff’s rights.

52.   As a result of these outrageous actions and assaults, Plaintiff was caused severe harm,

      including the loss of constitutional rights and liberties, physical injury and other

      emotional and mental distress, resulting in harm and injury to Plaintiff.

53.   Wherefore, as a direct and proximate cause of the actions of Defendant officers, Plaintiff

      has suffered damages in an amount in excess of seventy-five thousand dollars

      ($75,000.00).

                                               IX.

                                        42 U.S.C. § 1983

                                      MONELL CLAIM

54.   Plaintiff restates and realleges each and every allegation and paragraph of this Complaint

      as if fully set forth herein.

55.   The pattern or practice of illegal and condoned police misconduct is tacitly or overtly

      sanctioned by the conduct of Defendants Harteau and the City of Minneapolis.

56.   Thus, such behavior is carried out pursuant to a policy, procedure or custom, whether

      formal or informal, which violates constitutional rights of persons situated such as

      Plaintiff.

57.   As a result of these illegal and unconstitutional policies, procedures or customs, Plaintiff

      was caused severe harm, including the loss of constitutional rights and liberties, physical

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      injury and other emotional and mental distress, resulting in harm and injury to Plaintiff.

58.   Wherefore, as a direct and proximate cause of the actions of Defendant officers, Plaintiff

      has suffered damages in an amount in excess of seventy-five thousand dollars

      ($75,000.00).

                                                X.

                                          42U.S.C. § 1986

59.   Plaintiff restates and realleges each and every allegation and paragraph of this Complaint

      as if fully set forth herein.

60.   The actions of each police officer Defendant, the City of Minneapolis and Defendant

      Harteau in failing to prevent such a tacit agreement and conspiracy to violate rights under

      42 USC §§ 1985 and 1983 constitutes a violation of 42 USC § 1986.

61.   As a result of these illegal and unconstitutional policies, procedures or customs, Plaintiff

      suffered severe harm, including the loss of constitutional rights and liberties, physical

      injury and other emotional and mental distress, resulting in harm and injury to Plaintiff.

62.   Wherefore, as a direct and proximate cause of the actions of Defendant officers, Plaintiff

      has suffered damages in an amount in excess of seventy-five thousand dollars

      ($75,000.00).

                                               XI.

                                      VIOLATIONS OF 611A.79

63.   Plaintiff restates and realleges each and every allegation and paragraph of this Complaint

      as if fully set forth herein.

70.   Defendants’ actions with respect to Plaintiff constituted a criminal assault upon Plaintiff

      motivated by bias and discriminatory treatment based on age and/or race in the provision

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       or lack of provision of public services to Plaintiff under Minnesota Statutes Section

       611A.79.

71.    As a direct and proximate result of the actions of Defendants, Plaintiff has suffered and

       will suffer damages in an amount in excess of seventy-five thousand dollars

       ($75,000.00).

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff Laquisha McKinney, on behalf of Tyler Lynam, prays for judgment

and the following relief against each and every Defendant, jointly and severally.

A.     Reasonable damages in an amount in excess of Seventy-Five Thousand Dollars;

B.     Injunctive and declaratory relief;

C.     Attorneys fees and expert costs under 42 USC § 1988;

D.     Any and all other relief available, including pre-verdict and post-verdict interest, costs,

       fees and disbursements; and

E.     After motion, hearing, and Order, a claim and judgment for punitive damages.

F.     Plaintiff demands a jury trial as to issues so triable.

G.     All available statutory damages, including treble and punitive damages pursuant to Title

       42 United States Code Sections 1983, and 1988, Minnesota Statutes and Minneapolis

       municipal ordinance.




Dated: October 21, 2013                        GOINS LAW OFFICES


                                               _s/Albert Goins_____________________________
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                                               301 Fourth Avenue South

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                               ACKNOWLEDGMENT

       The undersigned attorney does hereby acknowledges the provisions of Minn. Stat.

§'549.211.


Dated: February 4, 2008                GOINS LAW OFFICES


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